Case 1:08-cv-00167-.].]F Document21 Filed 09/18/08

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September IS, 2008
VIA ELECTRONIC FILING

The Honorable JoSeph J. Farnan, Jr.
Urlited States Distriet Court
for the District of Deiaware
844 N. King Street
Wilmington, Delaware 1980}A

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Re: EDFInternational S.A. v. YPFS.A.,' C.A. No. 08~167~IJF

Dear Judge Farnan:

Briefmg is now complete on Petitioner EDF International S.A.’s Motion for

 

Contirmation of Arbitral Award and Entry of Judgment and Issuance of a Writ of Attachment
(D.I. 2). Briefmg on Respondent YPF S.A.’s Motion to Dismiss (D.I. 9) will be completed on
Ootober 17, 2008. Pursuant to Local Ruie 7.1.4, subject to and Without Waiver of the service-
related arguments raised in Support of YPF’s Motion to Dismiss, and in an effort to preserve its
right to request oral argument on EDFI’s Motion for Confrrmation (D.I. 2), YPF respectfuliy
requests oral argument on all motions pending after the close of briefing on its Motion to
Dismiss (D.I. 9).

Respectfully,
/s/ David E. Moore
David E. Moore

DEM:nmt
883052/33088

cc: Clerk of the Court (via hand delivery)
Counsel of Record (via electronic mail)

